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                 Exhibit 11
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9 November 2015


                   TRANSMITTED VIA ELECTRONIC MAIL, FACSIMILE, AND COURIER


Hongxia Yu
35 Technology Co., Ltd. (IANA #1316)
8th Guanri Road Software Park
Xiamen Fujian 361008
China

Email: icann@35.cn
Fax: +86 592 539 1808


RE: NOTICE OF BREACH OF REGISTRAR ACCREDITATION AGREEMENT

Dear Ms. Yu,

Please be advised that as of 9 November 2015, 35 Technology Co., Ltd. (“35 Technology”) is in breach
of its Registrar Accreditation Agreement (“RAA”) with the Internet Corporation for Assigned Names
and Numbers (“ICANN”) dated 19 March 2014 (“RAA”). These breaches result from:

       1. 35 Technology’s failure to maintain and make available to ICANN registration data and
          records relating to dealings with the Registered Name Holder (“RNH”) of the domain
          name <shoesbbalweb.com>, as required by Sections 3.4.2 and 3.4.3 of the RAA; and

       2. 35 Technology’s failure to validate and verify Whois contact information, as required by
          Sections 1, 2 and 4 of the Whois Accuracy Program Specification (“WAPS”) of the RAA.

Please refer to the attachment for details regarding these breaches.

In addition, 35 Technology has been deemed noncompliant in the following areas:

       1. 35 Technology’s failure to publish the full names and positions of all officers of the
          registrar on 35 Technology’s website, as required by Section 3.17 of the RAA and Section
          17 of the Registrar Information Specification (“RIS”) of the RAA;
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       2. 35 Technology’s failure to clearly display on 35 Technology’s website its renewal fees,
          post-expiration renewal fees (if different) and redemption/restore fees, as required by
          Section 4.1 of the Expired Registration Recovery Policy (“ERRP”);

       3. 35 Technology’s failure to display the correct ICANN logo on 35 Technology’s website, as
          required by the Logo License Specification of the RAA; and

       4. 35 Technology’s failure to timely pay past due accreditation fees as required by Section
          3.9 of the RAA.


Additional concerns

ICANN notes that 35 Technology has a 3rd Compliance notice with a response deadline of 12
November 2015 (see ticket DCX-410-71711). Failure to provide the information requested by ICANN
by 12 November 2015 will result in a notice of breach for 35 Technology.

ICANN requests that 35 Technology cure these breaches by 30 November 2015, 21 days from the
date of this letter, by taking the following actions:

       1. Provide records and information demonstrating that 35 Technology took steps to verify
          and validate the Whois information of the domain name <shoesbbalweb.com> since 23
          March 2015, or provide ICANN with an explanation why the domain name suspension was
          removed without verifying and validation Whois information;

       2. Provide ICANN with corrective and preventative action(s), including implementation dates
          and milestones, to demonstrate that 35 Technology’s systems and processes comply with
          the requirements of the RAA and WAPS;

       3. Publish on 35 Technology’s website the full names and positions of all officers of 35
          Technology;

       4. Clearly display 35 Technology’s renewal fees, post-expiration renewal fees (if different)
          and redemption/restore fees on 35 Technology’s website;

       5. Display the correct ICANN logo on 35 Technology’s website in accordance with the Logo
          License Specification of the RAA, or remove the ICANN logo from 35 Technology’s
          website; and
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       6. Pay all past and currently due accreditation fees.

If 35 Technology fails to timely cure the breaches and provide the information requested by 30
November 2015, ICANN may commence the RAA termination process.

If you have questions or require assistance, please contact Owen Smigelski at
owen.smigelski@icann.org.

Sincerely,




Maguy Serad
Vice President
Contractual Compliance

Cc:    John O. Jeffrey, General Counsel and Secretary
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                                            ATTACHMENT

Failure to validate and verify Whois data or maintain domain name suspension

Section 1 of the WAPS of the RAA requires registrars to validate that required fields, including
telephone numbers, postal addresses and email addresses, are in a standard format or template, as
well as verify the email address or telephone number of the registrant by receiving an affirmative
response from the registrant.

Section 2 of the WAPS of the RAA requires registrars to perform validation and verification, as set
forth in Section 1 of the WAPS, if a registrar receives changes to any Whois contact information,
whether the contact information was previously verified or validated. The registrar is required to (1)
receive an affirmative response from the registrant, (2) manually verify the information or (3)
suspend the domain name.

Section 4 of the WAPS of the RAA requires registrars to perform validation and verification, as set
forth in Section 1 of the WAPS, if a registrar has any information suggesting that the contact
information specified in the Whois is incorrect. The registrar must also (1) verify (or re-verify) the
registrant’s email address by receiving an affirmative response, (2) manually verify the information or
(3) suspend the domain name.

On 13 April 2015, in response to a Whois inaccuracy complaint for <shoesbbalweb.com>, 35
Technology notified ICANN that the domain name was suspended. Through ICANN monitoring, it was
determined that the suspension was lifted and the Whois data unchanged. Although 35 Technology
re-suspended the domain name, 35 Technology’s failure to provide documents and information
demonstrating validation and verification of the Whois data for the domain name
<shoesbbalweb.com> or an explanation why the suspension was lifted is a breach of the WAPS of the
RAA.

Failure to retain registered name holder and registration data and failure to make such data available
for inspection and copying

Sections 3.4.2 and 3.4.3 of the RAA requires registrars to maintain RNH and registration data, and to
make those records available to ICANN upon reasonable notice. 35 Technology’s failure to provide
the requested registration records and data related to <shoesbbalweb.com> is a breach of Sections
3.4.2 and 3.4.3 of the RAA.
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Failure to clearly display a link to renewal fees, post-expiration renewal fees (if different) and
redemption/restore fees on registrar’s website

Section 4.1 of the ERRP requires registrars to make their renewal fees, post-expiration renewal fees
(if different) and redemption/restore fees reasonably available to RNHs and prospective RNHs at the
time of registration of a gTLD name. At a minimum, these fees must be clearly displayed on the
registrar's website and a link to these fees must be included in the registrar's registration agreement.
35 Technology’s failure to clearly display these fees on its website is a breach of Section 4.1 of the
ERRP.

Failure to display correct ICANN-Accredited Registrar logo

The Logo License Specification of the RAA requires registrars, if displaying the ICANN-Accredited
Registrar logo, to use the logo displayed in the specification. 35 Technology’s use of a modified
version of the ICANN-Accredited Registrar logo is a breach of the Logo License Specification of the
RAA.

Failure to pay accreditation fees

Section 3.9 of the RAA requires registrars to timely pay accreditation fees to ICANN, consisting of
yearly and variable fees. 35 Technology owes ICANN in past due accreditation fees, in breach of
Section 3.9 of the RAA.

Chronology:

                   Deadline for
Date of Notice                       Details
                   Response
9-Sep-2015         16-Sep-2015       ICANN sent compliance inquiry via email to icann@35.cn.
                                     Email from Registrar (yuhx@35.cn) insufficient to
17-Sep-2015        N/A
                                     demonstrate compliance.
18-Sep-2015        25-Sept-2015      ICANN sent 1st compliance notice via email to icann@35.cn.
                                     Email from Registrar (yuhx@35.cn) insufficient to
21-Sep-2015        N/A
                                     demonstrate compliance.
                                     ICANN sent a follow-up compliance notice via email to
21-Sep-2015        25-Sep-2015
                                     icann@35.cn.
                                     Email from Registrar (yuhx@35.cn) insufficient to
23-Sep-2015        N/A
                                     demonstrate compliance.
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                 Deadline for
Date of Notice                  Details
                 Response
                                ICANN sent follow-up compliance notice via email to
29-Sep-2015      1-Oct-2015
                                icann@35.cn.
                                Email from Registrar (yuhx@35.cn) insufficient to
30-Sep-2015      N/A
                                demonstrate compliance.
                                ICANN sent a follow-up compliance notice via email to
1-Oct-2015       8-Oct-2015
                                icann@35.cn, No response received from Registrar.
9-Oct-2015       16-Oct-2015    ICANN sent 2nd compliance notice via email to icann@35.cn.
                                ICANN called Primary Contact at +86 592 529 1694. No
13-Oct-2015      N/A
                                answer, no ability to leave message.
                                Email from Registrar (yuhx@35.cn) insufficient to
19-Oct-2015      N/A
                                demonstrate compliance.
                                ICANN sent a follow-up compliance notice via email to
20-Oct-2015      23-Oct-2015
                                icann@35.cn. No response received from Registrar.
26-Oct-2015      2-Nov-2015     ICANN sent 3rd compliance notice via email to icann@35.cn.
                                ICANN sent 3rd compliance notice via fax to
27-Oct-2015      N/A
                                +865925391808. Fax successfull.
                                ICANN called Primary Contact at +86 592 529 1694. No
28-Oct-2015      N/A
                                answer, no ability to leave message.
                                ICANN called Primary Contact at +86 592 529 1694. Spoke to
2-Nov-2015       N/A
                                Primary Contact and provided complaint details.
                                Email from Registrar (yuhx@35.cn) insufficient to
2-Nov-2015       N/A
                                demonstrate compliance.
                                ICANN conducted compliance check to determine other
3-Nov-2015       N/A
                                areas of noncompliance.
                                To date, the Registrar has not responded to ICANN with the
9-Nov-2015       N/A
                                requested information and issues remain unresolved.
